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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE



Yalcin Ayasli,

                        Plaintiff,

        v.                                                     Case No. 1:19-cv-00183-JL

 Sezgin Baran Korkmaz, Kamil Feridun
 Ozkaraman, Fatih Akol, SBK Holdings A. S.,
 SBK Holdings, USA, Inc., Bugaraj Elektronik
 Ticaret ve Bilisim Hizmetleri A.S., and Mega
 Varlik Yonetim A.S.

                        Defendants.




   PLAINTIFF’S MOTION FOR LEAVE TO SERVE DEFENDANTS FATIH AKOL,
 KAMIL FERIDUN OZKARAMAN, AND MEGA VARLIK YONETIM A.S. VIA E-MAIL
        PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 4(f)(3)

        The Plaintiff Yalcin Ayasli, by and through his attorneys Jones Day and Sheehan Phinney

 Bass & Green PA, hereby submits this Motion for Leave to Serve Defendants Fatih Akol, Kamil

 Feridun Ozkaraman, and Mega Varlik Yonetim A.S. via E-mail Pursuant to Federal Rule of Civil

 Procedure 4(f)(3). In support of this Motion, Plaintiff states as follows:

        1.       The Plaintiff, Dr. Yalcin Ayasli, has acted diligently in attempting service of his

 Verified Complaint and civil summonses on individual Defendants Kamil Feridun Ozkaraman

 (“Ozkaraman”) and Fatih Akol (“Akol”), and corporate Defendant Mega Varlik Yonetim A.S.

 (“Mega Varlik”), all of whom are located in Turkey (collectively, the “Turkish Defendants”).

        2.       But for reasons out of Plaintiff’s control, those attempts have been unsuccessful.

 As a result, Plaintiff seeks leave to serve the Turkish Defendants by e-mail.
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        3.      Federal Rule of Civil Procedure 4(f)(3) permits service “by other means not

 prohibited by international agreement, as the court orders.” Service under that subsection is

 neither a “last resort” nor “extraordinary relief,” but instead one of several ways to serve an

 international defendant. Jackson Lab. v. Nanjing Univ., No. 1:17-cv-00363-GZS, 2018 U.S.

 Dist. LEXIS 13630, at *6-8 (D. Me. Jan. 29, 2018). Indeed, the Court may order service under

 Rule 4(f)(3) so long as the method of service (1) is not prohibited by international agreement;

 and (2) satisfies due process. Russell Brands, LLC v. GVD Int'l Trading, SA, 282 F.R.D. 21, 24

 (D. Mass. 2012) (citing Rio Props. v. Rio Int'l Interlink, 284 F.3d 1007 (9th Cir. 2002)).

        4.      Because service by e-mail is not prohibited by international agreement and

 satisfies due process, this Court, utilizing its broad discretion in fashioning alternative means of

 service, shall issue an order permitting the Plaintiff to serve the Turkish Defendants by e-mail.

        5.      The Plaintiff submits the attached Memorandum of Law in support of the

 requested relief.

        6.      Defendants Sezgin Baran Korkmaz, SBK Holdings A.S., and Bugaraj Elektronik

 Ticaret ve Bilisim Hizmetleri A.S., through Attorney Andrew Hamilton, take no position on the

 requested relief.

        WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an order:

             A. Granting Plaintiff leave to serve Defendant Akol via the following e-mail
                addresses (akol.fatih@gmail.com, robo@roboair.com, faith.akol@akol.info);

             B. Granting Plaintiff leave to serve Defendant Ozkaraman via the following e-mail
                addresses (feridun@prolesauto.com, feridunozkaraman@sbkholding.com.tr);

             C. Granting Plaintiff leave to serve Defendant Mega Varlik via the following e-mail
                address (info@megavarlik.com.tr); and

             D. Granting Plaintiff such other relief as the Court deems necessary and just.
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                                              Respectfully submitted,

                                              DR. YALCIN AYASLI

                                              By His Attorneys,

                                              SHEEHAN PHINNEY BASS & GREEN, PA

    Dated: January 7, 2020                    /s/ Robert H. Miller
                                              Robert H. Miller, Esq. (NH Bar #13881)
                                              Patrick. J. Queenan, Esq. (NH Bar #20127)
                                              Chloe F. Golden, Esq. (NH Bar #268036)
                                              1000 Elm Street, 17th Floor
                                              Manchester, NH 03110
                                              603-668-0300
                                              rmiller@sheehan.com
                                              pqueenan@sheehan.com
                                              cgolden@sheehan.com


                                              -and-

                                              JONES DAY

                                              Steven T. Cottreau, Esq. (VA Bar #46215)
                                              Pro hac vice
                                              51 Louisiana Ave., NW
                                              Washington, DC 20001
                                              202-879-3939
                                              scottreau@jonesday.com




                                  CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served on all counsel of record by filing
 same using the Court’s ECF system.


 Dated: January 7, 2020                       /s/ Robert H. Miller
                                              Robert H. Miller, Esq. (NH Bar #13881)
